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03
                                  UNITED STATES DISTRICT COURT
04                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
05
     i.N. (11/05/89), a minor,            )            CASE NO.: C07-0467-RSM
06                                        )
           Petitioner,                    )
07                                        )
           v.                             )            ORDER OF DISMISSAL
08                                        )
     NEHEMIAH MEAD,                       )
09                                        )
           Respondent.                    )
10   ____________________________________ )

11          The Court, having reviewed petitioner’s petition for a writ of habeas corpus pursuant to

12 28 U.S.C. § 2254, respondent’s answer, the Report and Recommendation of the Honorable Mary

13 Alice Theiler, United States Magistrate Judge, any objections thereto, and the balance of the

14 record, does hereby find and ORDER:

15          (1)    The Court adopts the Report and Recommendation;

16          (2)    Petitioner’s petition for a writ of habeas corpus (Dkt. No. 7) is DENIED and this

17                 action is dismissed without prejudice; and

18          (3)    The Clerk is directed to send a copy of this Order to counsel of record and to

19                 Judge Theiler.

20          DATED this 24 day of March 2008.

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22
                                                         A
                                                         RICARDO S. MARTINEZ
                                                         UNITED STATES DISTRICT JUDGE




     ORDER OF DISMISSAL
